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EXHIBIT A
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Defendants’ Opening
Statement
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                       Equipment                          Results

No evidence            AccuVote TSX DREs                  No evidence of malware.


of malware             GEMS Databases                     No evidence of malware.


altering               Dominion ICX BMDs                  No evidence of malware.


elections              Coffee County election
                                                          No evidence of malware.
                       equipment
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Vulnerabilities
are not
compromises



Defs’ Trial Ex. 67
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                   We evaluate that claim under what is known as the Anderson-
                   Burdick test, weighing "the character and magnitude of the
                   asserted injury" to voting rights "against the precise interests

Anderson-
                   put forward by the State as justifications for the burden
                   imposed by its rule." Burdick v. Takushi, 504 U.S. 428, 434, 112 S.
                   Ct. 2059, 119 L. Ed. 2d 245 (1992) (quoting Anderson v. Celebrezze,

Burdick            460 U.S. 780, 789, 103 S. Ct. 1564, 75 L. Ed. 2d 547 (1983) (internal
                   quotation marks omitted)).

                   Curling v. Raffensperger, 50 F.4th 1114, 1122 (11th Cir. 2022)
                   (emphasis added)
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                   If we conclude that the State's policy imposes a severe burden on
                   the right to vote, we subject the policy to strict scrutiny—meaning
                   that the rule survives only if it is narrowly tailored to serve a
                   compelling state interest. New Georgia Project, 976 F.3d at 1280.
                   When the burden is more modest, though, so is the inquiry.
                   Washington State Grange v. Washington State Republican Party, 552


Anderson-
                   U.S. 442, 452, 128 S. Ct. 1184, 170 L. Ed. 2d 151 (2008). So long as a
                   policy is "reasonable and nondiscriminatory," the State's "important
                   regulatory interests in conducting orderly elections" will generally


Burdick
                   be enough to justify it. Grizzle v. Kemp, 634 F.3d 1314, 1322 (11th
                   Cir. 2011) (quotations omitted); Indep. Party of Florida v. Sec'y, State
                   of Florida, 967 F.3d 1277, 1281 (11th Cir. 2020) (quotation omitted).
                   That examination offers no license for "second-guessing and
                   interfering with" state decisions; the Constitution charges
                   States, not federal courts, with designing election rules. New
                   Georgia Project, 976 F.3d at 1284.

                   Curling v. Raffensperger, 50 F.4th 1114, 1122 (11th Cir. 2022)
                   (emphasis added)
